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                       Exhibit A
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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION



   U NITED S TATES OF A MERICA
                                               Criminal Indictment
           v.
                                               No. 1:21-CR-310-SDG-LTW
   D AWUAN N A ’ JEE W ILLIAMS



THE GRAND JURY CHARGES THAT:

                              Counts One through Five
       (False Statement to a Licensed Firearms Dealer – 18 U.S.C. § 922(a)(6))

   On or about the dates listed below, in the Northern District of Georgia, the

defendant, DAWUAN NA’JEE WILLIAMS, did knowingly furnish and exhibit a false,
fictitious, and misrepresented identification, and did make a false and fictitious
written statement, to a licensed dealer of firearms within the meaning of Chapter

44, Title 18, United States Code, in connection with the acquisition of at least one
of the corresponding firearms described below, said identification and statement
being intended and likely to deceive the licensed dealer as to a fact material to the
lawfulness of the sale of said firearm(s), that is:


 Count          Date         Licensed Dealer                    Firearm(s)
                                                       one (1) Ruger LC9S 9mm
                                                        semiautomatic pistol
   1       10/19/2020     Autrey’s Armory, Inc.
                                                       one (1) Glock 19 9mm
                                                        semiautomatic pistol
                                                       one (1) Smith &Wesson
                         Range, Guns and Safes
   2       5/10/2021                                    M&P 380 Shield .380 caliber
                                 LLC
                                                        semiautomatic pistol
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 Count        Date          Licensed Dealer                    Firearm(s)
                                                     one (1) Glock 17 9mm
                                                      semiautomatic pistol
                                                     one (1) Bearman Industries
                                                      .38 Special caliber derringer
                                                     one (1) Glock 19 9mm
                                                      semiautomatic pistol
                                                     one (1) Derya Arms VRPA40
   3       5/21/2021        Moss Pawn LLC
                                                      12-gauge shotgun
                                                     one (1) SCCY Industries
                                                      CPX-2 9mm semiautomatic
                                                      pistol
                                                     one (1) Smith & Wesson
                                                      M&P 9 Shield 9mm
                                                      semiautomatic pistol
                                             one (1) Ruger-57 5.7x28mm
                                              semiautomatic pistol
                          Georgia Firearms   one (1) Glock 19 9mm
   4       5/26/2021   Holding Company, LLC   semiautomatic pistol
                       d/b/a Gun Commanders  one (1) Smith & Wesson
                                              M&P 15 5.56mm
                                              semiautomatic pistol
                                             one (1) Ruger-57 5.7x28mm
                          Georgia Firearms
                                              semiautomatic pistol
   5        6/6/2021   Holding Company, LLC
                                             one (1) Taurus G2C 9mm
                       d/b/a Gun Commanders
                                              semiautomatic pistol


in that the defendant presented a false Georgia identification card bearing the

name of “K.E.C.,” whose identity is known to the Grand Jury, and falsely
represented himself to be “K.E.C.,” when, in fact, as the defendant then well knew,
he was not “K.E.C.”

   All in violation of Title 18, United States Code, Section 922(a)(6).




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                           Counts Six through Ten
              (Aggravated Identity Theft – 18 U.S.C. § 1028A(a)(1))

   On or about the dates listed below, in the Northern District of Georgia, the
defendant, DAWUAN NA’JEE WILLIAMS, did knowingly possess and use, without
lawful authority, a means of identification of another person, that is, the name of
“K.E.C.,” an actual person whose identity is known to the Grand Jury, during and

in relation to the felony violations listed below:


     Count         Date                         Felony Violation
                                 False Statement to a Licensed Firearms Dealer
        6       10/19/2020
                                    as alleged in Count 1 of this Indictment
                                 False Statement to a Licensed Firearms Dealer
        7       5/10/2021
                                    as alleged in Count 2 of this Indictment
                                 False Statement to a Licensed Firearms Dealer
        8       5/21/2021
                                    as alleged in Count 3 of this Indictment
                                 False Statement to a Licensed Firearms Dealer
        9       5/26/2021
                                    as alleged in Count 4 of this Indictment
                                 False Statement to a Licensed Firearms Dealer
       10        6/6/2021
                                    as alleged in Count 5 of this Indictment

   All in violation of Title 18, United States Code, Section 1028A(a)(1).

                                Count Eleven
    (Possession of a Firearm by a Prohibited Person – 18 U.S.C. § 922(g)(1))

   On or about July 22, 2021, in the Northern District of Georgia, the defendant,
DAWUAN NA’JEE WILLIAMS, knowing that he had been previously convicted of at
least one of the following offenses:
    Terroristic Threats, on or about June 13, 2000, in the Superior Court of Essex
      County (New Jersey);



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    Burglary, on or about November 30, 2006, in the Circuit Court of Leon
      County (Florida);
    Robbery, on or about January 28, 2014, in the Circuit Court of Leon County
      (Florida);
    Criminal Use of Personal Identification Information, on or about January 28,
      2014, in the Circuit Court of Leon County (Florida);
    Home-Invasion Robbery, on or about March 1, 2018, in the Circuit Court of
      Gadsden County (Florida);

    Kidnapping, on or about March 1, 2018, in the Circuit Court of Gadsden
      County (Florida); and
    Aggravated Battery, on or about March 1, 2018, in the Circuit Court of

      Gadsden County (Florida),
each of the aforesaid convictions being for a crime punishable by imprisonment
for a term exceeding one year, did knowingly possess, in and affecting interstate

and foreign commerce, at least one of the following firearms:
    one (1) Ruger LC9S 9mm semiautomatic pistol;
    one (1) Smith &Wesson M&P 380 Shield .380 caliber semiautomatic pistol;

    one (1) Ruger-57 5.7x28mm semiautomatic pistol; and
    one (1) Smith & Wesson M&P 15 5.56mm semiautomatic pistol,
all in violation of Title 18, United States Code, Sections 922(g)(1) and 924(e)

                               Forfeiture Provision
   Upon conviction of one or more of the offenses alleged in this Indictment, the
defendant shall forfeit to the United States, pursuant to Title 18, United States

Code, Section 924(d) and Title 28, United States Code, Section 2461(c), any and all


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firearms and ammunition involved in the commission of the offenses(s), including
but not limited to the firearms listed in the Counts above.
   If any of the above-described forfeitable property, as a result of any act or
omission of the defendant:
   (a) cannot be located upon the exercise of due diligence;

   (b) has been transferred or sold to, or deposited with, a third party;
   (c) has been placed beyond the jurisdiction of the court;
   (d) has been substantially diminished in value; or
   (e) has been commingled with other property which cannot be divided without
      difficulty,
the United States intends to seek forfeiture of any other property of the defendant

up to the value of the forfeitable property, pursuant to Title 21, United States Code,
Section 853(p) and Title 28, United States Code, Section 2461(c).


                                          A                                    BILL



                                                      FOREPERSON

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